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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTHERN IOWA
                                     CENTRAL DIVISION


BROOKE JOHNSON, DENISE TRLICA,                                  4:22-CV-00146-SMR-HCA
JAMIE MIDDLETON, JESSICA ROCKWELL,
JOANNA KRUPA, LUCY PINDER, ROSIE
WICKS, and TIFFANY TOTH GRAY,
                                                      ORDER SETTING ADDITIONAL STATUS
                          Plaintiffs,                          CONFERENCES

        vs.

J.P. PARKING, INC.,

                          Defendant.


               The Court will conduct status conferences by telephone for this case pursuant to

the following schedule:

                       March 9, 2023           at 10:30 a.m.
                       April 26, 2023          at 10:30 a.m.
                       June 28, 2023           at 10:30 a.m.
                       August 25, 2023         at 10:30 a.m.

       To join the telephonic status conferences, counsel shall call the court's conference line at

1-877-336-1829 and enter access code 1176783 at the prompt to join the call.

       The parties shall file in the docket a list of any proposed matters to be discussed during the

upcoming status conference no less than 48 hours prior to the status conference. The list may

be submitted jointly or separately by each party. If any party anticipates that the status conference

will take longer than 30 minutes and/or would like a court reporter for the status conference, this

should also be indicated in the same filing.

       If the parties believe that there are no matters to be discussed at the upcoming status

conference, this should also be indicated in a filing no less than 48 hours prior to the status
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conference. The parties should directly address whether they are on track to meet the deadlines

set by the Court’s Scheduling Order and Discovery Plan. If the parties are not on track to meet the

deadlines set by the Court’s Scheduling Order and Discovery Plan (regardless of any informal

deadline extensions agreed on by the parties), the parties should so state and explain why. Based

on this information, the Court will determine whether to cancel the status conference.

       If any party believes that it would be beneficial to hold an additional status conference

that is not set by the above schedule, that party shall indicate that they desire an additional status

conference and explain why in a filing in the docket. That party shall also indicate whether they

anticipate the status conference will take longer than 30 minutes and whether they would like a

court reporter to be present.

       IT IS SO ORDERED.

       DATED January 25, 2023.




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